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                            CASE NUMBER~ 3~23ct'll

            CASE NAME: United States of America v. Scott Howard Jenkins


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Juror Number: - - - -          Date:

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For Court Use Only:
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Date Filed - - - -
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The Court's response to Jury Question # 1

   1.  If available, we will provide a list of the admitted exhibits with the descriptions used by
      the parties. For now, the audio and video recordings are located at GOO 1-0042.
   2. All instructions of the Court are important. However, Instruction 21 provides guidance
      regarding transcripts for audio and video recordings.
   3. At this time, we are not able to provide the court reporter notes or a transcript of
      testimony. You must rely upon your memory of the testimony of the witnes~ ,,
